Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 1 of 30

EXHIBIT B
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 2 of 30

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UNITED STATES
ENVIRONMENTAL PROTECTION AGENCY
REGION 8
IN THE MATTER OF: ADMINISTRATIVE ORDER ON
Vermiculite Intermountain Site CONSENT FOR REMOVAL ACTION
Salt Lake City, Utah
PacifiCorp, d/b/a Utah Power _ U.S. EPA Region 8
Respondent CERCLA Docket No. CERCLA-08-2004-0017

Proceeding Under Sections 104, 106(a), 107
and 122 of the Comprehensive
Environmental Response, Compensation,
and Liability Act, as amended, 42 U.S.C. §§
9604, 9606(a), 9607 and 9622
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 3 of 30

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XVII.

TABLE OF CONTENTS

JURISDICTION AND GENERAL PROVISIONS .....-+ seer err eer eeer eres 3
PARTIES BOUND oo... cee ee cere eee ee teens nner enn eens eeeenes 3
DEFINITIONS oo... cscs eect cern eter erent teen ener rr enn sr eesnes 4
FINDINGS OF FACT oo... cece eee ere e renee rect ne nne neers n sees 6
CONCLUSIONS OF LAW AND DETERMINATIONS ..-- +++ seeerereeeees 6
ORDER occ cce cece cece eee tere eee eeeerenrer rer ran scar enes 7
DESIGNATION OF CONTRACTOR, PROJECT COORDINATOR, AND ON-SCENE

COORDINATOR oo. ccc ece cree ree cere nee tener ener ener cn sees 7
WORK TO BE PERFORMED ..... 0c tees cere r ernest eters rsrr ess 9
SITE ACCESS oo .e cece cere cent reer ence ener ne eeen near essere: 11
ACCESS TO INFORMATION ....--e ec ee ere cesteeeee eee eeeees 13
RECORD RETENTION... eee cece cece etree ener rr enna sete es 14
COMPLIANCE WITH OTHER LAWS ...--- eer e reer etree rr ee erste 15
EMERGENCY RESPONSE AND NOTIFICATION OF RELEASES ....-----+5 15
AUTHORITY OF ON-SCENE COORDINATOR... eee eee reer errr reeees 16
PAYMENT OF RESPONSE COSTS ...--+ ee reeeer errr ercrerertnees 16
DISPUTE RESOLUTION ....eeeee veer cere rece terete en een nesses 18
FORCE MAJEURE ... ccc eee rere reer e erent etre reer erer cesar ss 18
STIPULATED PENALTIES ...--0e cece crete rr sr eset ererretecess 19
COVENANT NOT TO SUE BY EPA ...--- +s eree rere er ee renters 21
RESERVATIONS OF RIGHTS BY EPA ...-. sere reece ener ere cence 21
COVENANT NOT TO SUE BY RESPONDENT ... ses sees err ereerrerees 22
OTHER CLAIMS... eee e cece ener nee e enter snr rcceaeren es 23
CONTRIBUTION PROTECTION «0. essere erect erence renee cer tesess 24
INDEMNIFICATION ...e cece cere rere n seer enter anrns er cceess 24
INSURANCE .. ccc cece ee eee cere e eee r neers t eres t eas eeas reese es 25
FINANCIAL ASSURANCE .. esse eee cece cre etn sneer tresarsccecess 25
MODIFICATIONS 1... cece eee ener cence sees reer e nessa r esses 26
ADDITIONAL REMOVAL ACTIONS ..- +e eres reece errr err enc te cress 26
NOTICE OF COMPLETION OF WORK ...- e+e eres Lecce eee ee erenere 27
SEVERABILITY/INTEGRATION/APPENDICES ...---+eeseeeeerrerrees 27

EFFECTIVE DATE ...--eeeere ere? vane e ee encesaeeeas See eeeeee 28
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 4 of 30

3

L JURISDICTION AND GENERAL PROVISIONS
1. This Administrative Order on Consent (“Order”) is entered into voluntarily by the
United States Environmental Protection Agency (“EPA”) and PacifiCorp, d/b/a Utah Power
(“Respondent”). This Order provides for the performance of a removal action by Respondent
and the reimbursement of certain response costs incurred by the United States at or in connection
with the property on or near 333 West 100 South in Salt Lake City, Utah, the “Vermiculite
Intermountain Site” or the “Site.”

2. This Order is issued under the authority vested in the President of the United States by
Sections 104, 106(a), 107 and 122 of the Comprehensive Environmental Response,
Compensation, and Liability Act of 1980, 42 U.S.C. §§ 9604, 9606(a), 9607 and 9622, as
amended (“CERCLA”).

3. EPA has notified the State of Utah (the “State”) of this action pursuant to Section
106(a) of CERCLA, 42 U.S.C. § 9606(a).

4. EPA and Respondent recognize that this Order has been negotiated in good faith and

EPA further recognizes Respondent's cooperation and initiative in connection with the Site and

‘the matters addressed in this ‘Order. EPA and Respondent further agree that Respondent’s
participation in this Order and any actions undertaken by Respondent in accordance with this
Order do not constitute an admission of liability or agreement with EPA’s findings of fact or
determinations of law contained in this Order, except in a proceeding to enforce the terms of this
Order. Respondent does not admit, and retains the right to controvert in any subsequent
proceedings other than proceedings to implement or enforce this Order, the validity of the
findings of facts, conclusions of law, and determinations in Sections TV and V of this Order.
Respondent agrees to comply with and be bound by the terms of this Order and further agrees
that it will not contest the basis or validity of this Order or its terms.

Il. PARTIES BOUND

5. This Order applies to and is binding upon EPA and upon Respondent and its
successors and assigns and Respondent is liable for implementing all activities required by this
Order. Any change in ownership or corporate status of a Respondent including, but not limited
to, any transfer of assets or real or personal property shall not alter Respondent’s responsibilities

under this Order.

6. Respondent shall ensure that its contractors, subcontractors, and representatives
receive a copy of this Order and comply with this Order. Respondent shall be responsible for any
noncompliance with this Order.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 5 of 30

4

IM. DEFINITIONS

7. Unless otherwise expressly provided herein, terms used in this Order which are
defined in CERCLA or in regulations promulgated under CERCLA shall have the meaning
assigned to them in CERCLA or in such regulations, Whenever terms listed below are used in
this Order or in the appendices attached hereto and incorporated hereunder, the following

definitions shall apply:

a. “Action Memorandum” shall mean the EPA Action Memorandum relating to
the Site signed on April 7, 2004, by the Assistant Regional Administrator, Office of Ecosystem
Protection and Remediation, EPA Region 8, or his delegate, and all attachments thereto. The
Action Memorandum is attached as Appendix A and incorporated herein by reference.

b. “CERCLA” shall mean the Comprehensive Environmental Response, -
Compensation, and Liability Act of 1980, as amended, 42 U.S.C. §§ 9601, et seq.

c. “Day” shall mean a calendar day. In computing any period of time under this
Order, where the last day would fall on a Saturday, Sunday, or Federal holiday, the period shall

run until the close of business of the next working day.

d. “Effective Date” shall be the effective date of this Order as provided in Section
XXXII.

e. “EPA” shall mean the United States Environmental Protection Agency and any
successor departments or agencies of the United States.

f. “Future Response Costs” shall mean all costs, including, but not limited to,
direct and indirect costs, that the United States incurs in reviewing or developing plans, reports
and other items pursuant to this Order, verifying the Work, or otherwise implementing,
overseeing, or enforcing this Order, including but not limited to, payroll costs, contractor costs;
travel costs, laboratory costs, the costs incurred pursuant to Paragraph 26 (costs and attorneys
fees and any monies paid to secure access, including the amount of just compensation),
Paragraph 38 (emergency response) and Paragraph 64 (work takeover) after the Effective Date of

this Order.

g. “Interest” shall mean interest at the rate specified for interest on investments of
the EPA Hazardous Substance Superfund established by 26 U.S.C. § 9507, compounded
annually‘on October 1 of each year, in accordance with 42 U.S.C. § 9607(a). The applicable rate
- of interest shall be the rate in effect at the time the interest accrues. The rate of interest is subject
to change on October 1 of each year.’

h. “PacifiCorp Property” shall mean the real property located at 147 South 400
West in Salt Lake City, Salt Lake County, Utah, and described more fully in Appendix B
attached hereto and incorporated herein. .
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 6 of 30

5

j. “National Contingency Plan” or “NCP” shall mean the National Oil and
Hazardous Substances Pollution Contingency Plan promulgated pursuant to Section 105 of
‘CERCLA, 42 U.S.C. § 9605, codified at 40 C.E.R. Part 300, and any amendments thereto.

j. “Order” shall mean this Administrative Order on Consent and all appendices
attached hereto (listed in Section XXXI). In the event of conflict between this Order and any
appendix, this Order shall control.

k. “Paragraph” shall mean a portion of this Order identified by an Arabic
numeral. ths

"1. “Parties” shali mean EPA and Respondent.

m. “RCRA” shall mean the Solid Waste Disposal Act, as amended, 42 U.S.C. §§
6901, et seg. (also known as the Resource Conservation and Recovery Act).

n. “Respondent” shall mean PacifiCorp, d/b/a Utah Power.
o. “Section” shall mean a portion of this Order identified by a Roman numeral.

p. “Site” shall mean the Vermiculite Intermountain Superfund Site, located at or
near 333 West 100 South in Salt Lake City, Utah and depicted generally on the map in the Action
Memorandum, which is attached as Appendix A.

q. “State” shall mean the State of Utah.

r. “Waste Material” shall mean 1) any “hazardous substance” under Section
101(14) of CERCLA, 42 U.S.C. § 9601(14); 2) any pollutant or contaminant under Section
101(33) of CERCLA, 42 U.S.C. § 9601(33); and 3) any “solid waste” under Section 1004(27) of
RCRA, 42 U.S.C. § 6903(27).

s. “Work” shall mean all activities Respondent is required to perform under this
Order.

t. “Work Plan” shall mean a consolidated Work Plan containing two phases,
Phase I (relating to response activities within the control building located on the PacifiCorp

Property), and Phase I (relating to removal of soils within the PacifiCorp Property), as set forth
in Appendix D to this Order, and any modifications made thereto in accordance with this Order.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 7 of 30

6

IV. FINDINGS OF FACT

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8. EPA hereby makes the following findings of fact for purposes of this Order:

a. The Site includes the location of the former Vermiculite Intermountain plant (the
“plant”) and areas contaminated by asbestos emissions therefrom.

b. The plant, which operated between the early 1940s and 1984, performed various
production operations with vermiculite concentrate from the Libby Vermiculite Mine, located in
Libby, Montana. The Libby vermiculite concentrate contained amphibole asbestos, frequently
above trace levels. EPA records show that the plant received at least 25,000 tons of vermiculite

concentrate from the Libby Mine.

c. Historical records from the Libby Mine and data collected during investigations at the
Libby Mine show that the handling and processing of Libby vermiculite during production
processes releases high levels of respirable airborne asbestos fibers.

d. EPA’s Libby investigations have shown that disturbance of dust or soils containing the
amphibole asbestos from Libby vermiculite produces high levels of respirable airborne asbestos

fibers.

e. EPA’s investigations at the Libby Mine have shown that human exposure to the
amphibole asbestos found in the Libby vermiculite concentrate may cause asbestos-related
diseases, including lung cancer, mesothelioma and asbestosis.

f, Respondent owned the property on which the plant operated from 1944 until 1954,
leasing the property during that time to the operator of the exfoliation plant. During this time,
emissions containing amphibole asbestos left the plant and contaminated surrounding properties,
which are now part of the Site. Respondent sold the property in 1954 and reacquired it in 1984.

g. EPA’s sampling at the Site has found elevated levels of amphibole asbestos in soils, as
well as in dust found in several buildings on the Site. A summary of the data reflecting these
findings can be found in the Action Memorandum. EPA has determined that response actions
are necessary on/in: 1) the former plant property; the Artistic Printing building, the Frank
Edwards Building (and potentially its related Ampco Parking Lot) and the PacifiCorp Property.

Vv. CONCLUSIONS OF LAW AND DETERMINATIONS

9. Based on the Findings of Fact set forth above, and the Administrative Record
supporting this removal action, EPA has determined that:

a. The Vermiculite Intermountain Site is a “facility” as defined by Section 101(9)
of CERCLA, 42 U.S.C. § 9601(9). ,
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 8 of 30

7

b. The contamination found at the Site, as identified in the Findings of Fact
above, is a “hazardous substance(s)” as defined by Section 101(14) of CERCLA, 42 U.S.C. §

9601(14).

c. Respondent is a “person” as defined by Section 101(21): of CERCLA, 42
U.S.C. § 9601(21).

d. Respondent is a responsible party under Section 107(a) of CERCLA, 42 U.S.C.
§ 9607(a), and is table for performance of response action and for response costs incurred and to
be incurred at the 2acifiCorp Property, as defined below for purposes of this Order:

i. Respondent is the “owner” and/or “operator” of part of the facility,
as defined by Section 101(20) of CERCLA, 42 U.S.C. § 9601(20),
and within the meaning of Section 107(a)(1) of CERCLA, 42
U.S.C. § 9607(a)(1). :

ii. Respondent was the “owner” and/or “operator” of part of the
facility at the time of disposal of hazardous substances at the
facility, as defined by Section 101(20) of CERCLA, 42 U.S.C. §
9601(20), and within the meaning of Section 107(a)(2) of
CERCLA, 42 U.S.C. § 9607(a)(2).

e. The conditions described in Paragraph 8 (Findings of Fact) above constitute an
actual or threatened “release” of a hazardous substance from the facility as defined by Section
101(22) of CERCLA, 42 U.S.C.§ 9601(22).

f. The removal action required by this Order is necessary to protect the public
health or welfare or the environment and, if carried out in compliance with the terms of this
Order, will be considered consistent with the NCP, as provided in Section 300.700(c)(3)(ii) of

the NCP.

VI. ORDER

Based upon the foregoing Findings of Fact, Conclusions of Law, Determinations, and the
Administrative Record for this Site, it is hereby Ordered and Agreed that Respondent shall
comply with all provisions of this Order, including, but not limited to, all attachments to this
Order and all documents incorporated by reference into this Order.

VII. DESIGNATION OF CONTRACTOR, PROJECT COORDINATOR,

AND ON-SCENE COORDINATOR

10. Respondent shall retain one or more contractors to perform the Work and shall notify
EPA of the name(s) and qualifications of such contractor(s) within thirty (30) days of the
Effective Date. Respondent shall also notify EPA of the name(s) and qualification(s) of any
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 9 of 30

8

other contractor(s) or subcontractor(s) retained to perform the Work at least five (5) days prior to
commencement of such Work, EPA retains the right to disapprove of any or all of the
contractors and/or subcontractors retained by Respondent. If EPA disapproves of a selected
contractor, Respondent shall retain a different contractor and shall notify EPA of that contractor’s
name and qualifications within twenty-one (21) days of EPA’s disapproval.

11. Respondent hereby designates David Wilson of PacifiCorp as its Project Coordinator
who has the authority for administration of all actions by Respondent required by this Order.
Respondent’s Project Coordinator’s address is as follows:

David Wilson, P.E.

Safety & Environment Dept.
PacifiCorp Power Delivery

825 NE Multnomah, Suite 1700 LCT
Portland OR 97232

Desk (503) 813-6635

Fax (503) 813-5088

Cell (503) 860-2307

12. To the greatest extent possible, the Project Coordinator shall be present on Site or
readily available during Site work. If EPA determines the performance of the Project
Coordinator to be unacceptable, Respondent shall retain a different Project Coordinator and shall
notify EPA of that person’s name, address, telephone number, and qualifications within three (3)
days following EPA’s disapproval. Receipt by Respondent’s Project Coordinator of any notice
or communication from EPA relating to this Order shall constitute receipt by Respondent.

13. EPA has designated Floyd Nichols of the Office of Preparedness, Assessment and
Emergency Response, Region 8, as its On-Scene Coordinator (“OSC”). Except as otherwise
provided in this Order, Respondent shall direct all submissions required by this Order to the OSC
at U.S. EPA, EPR-ER, 999 18" Street, Suite 300, Denver, CO 80202. Delivery, except in
emergency circumstances, shall be by U.S. mail. Mr. Nichols’ desk number is (303) 312- 6983
and cell phone number is (303) 898-5132. ,

14. EPA and Respondent shall have the right, subject to Paragraph 12, to change its
respective designated OSC or Project Coordinator. Respondent shall notify EPA three (3) days
before such a change is made. The initial notification may be made orally, but shall be promptly

followed by a written notice.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 10 of 30

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VII. WORK TO BE PERFORMED
15. Work Plan.

a. Respondent shall perform, at a minimum, all actions necessary to implement
the Work as set forth in the Work Plan, which has been approved by EPA. The Work Plan,
including its attachments, is hereby incorporated into, and is enforceable under this Order.

b. Respondent shall not commence any Work except in conformance with the
EF A-approved Work Plan.

16. Health and Safety Plan. Not less than ten (10) days prior to the date required for
commencement of Work by the Work Pian, Respondent shall submit for EPA review and
comment a plan that ensures the protection of the public health and safety during performance of

_on-Site work under this Order. This plan shall be prepared.in accordance with EPA’s Standard
Operating Safety Guide (PUB 9285.1-03, PB 92-963414, June 1992). In addition, the plan shall
comply with all currently applicable Occupational Safety and Health Administration (“OSHA”)
regulations found at 29 CFR. Part 1910. If EPA determines that it is appropriate, the plan shall
also include contingency planning. Respondent shall incorporate all changes to the plan
recommended by EPA and shail implement the plan during the pendency of the removal action.

17. Quality Assurance and Sampling.

a. All sampling and analyses performed pursuant to this Order shall conform to
EPA direction, approval, and guidance regarding sampling, quality assurance/quality control
(“QA/QC”), data validation, and chain of custody procedures. Respondent shall ensure that the
laboratory used to perform the analyses participates in a QA/QC program that complies with the
appropriate EPA guidance. Respondent shall follow, as appropriate, “Quality Assurance/Quality
Control Guidance for Removal Activities: Sampling QA/QC Plan and Data Validation
Procedures” (OSWER Directive No. 9360.4-01, April 1, 1990), as guidance for QA/QC and
sampling. Respondent shall only use laboratories that have a documented Quality System that
complies with ANSI/ASQC E-4 1994, “Specifications and Guidelines for Quality Systems for
Environmental Data Collection and Environmental Technology Programs” (American National
Standard, January 5, 1995), and “EPA Requirements for Quality Management Plans (QA/R-2)
(EPA/240/B-01/002, March 2001),” or equivalent documentation as determined by EPA. EPA
may consider laboratories accredited under the National Environmental Laboratory Accreditation
Program (“NELAP”) as meeting the Quality System requirements,

b. Upon request by EPA, Respondent shall have such a laboratory analyze samples
submitted by EPA for QA monitoring. Respondent shall provide to EPA the QA/QC procedures
followed by all sampling teams and laboratories performing data collection and/or analysis.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 11 of 30

10

c., Upon request by EPA, Respondent shall allow EPA or its authorized
representatives to take split and/or duplicate samples. Respondent and EPA shall notify each
other not less than three (3) days in advance of any sample collection activity, unless shorter
notice is agreed to by EPA. EPA shall have the right to take any additional samples that EPA
deems necessary. Upon request, EPA shall allow Respondent to take split or duplicate samples of
any samples it takes as part of its oversight of Respondent’s implementation of the Work.

18. Post-Removal Site Control. In accordance with the Work Plan schedule, or as
otherwise directed by EPA, Respondent shall submit a proposal for post-removal site control (that
is determined to be necessary by EPA) at the PacifiCor} Property which is consistent with Section
300.415(D of the NCP and OSWER Directive No. 9360.2-02. Upon EPA approval, Respondent
shall implement such controls and shall provide EPA with documentation of all post-removal site

control arrangements.

19. Reporting.

a. Respondent shall submit a written progress report to EPA concerning actions
undertaken pursuant to this Order every tenth day after the date of receipt of EPA’s approval of
the Work Plan until termination of this Order, unless otherwise directed in writing by the OSC.
These reports shall describe all significant developments during the preceding period, including
the actions performed and any problems encountered, analytical data received during the reporting
period, and the developments anticipated during the next reporting period, including a schedule of
actions to be performed, anticipated problems, and planned resolutions of past or anticipated

problems.

b. Respondent shall submit three (3) copies of all plans, reports or other
submissions required by this Order or the Work Plan. Upon request by EPA, Respondent shall
~ submit such documents in electronic form.

c. Respondent shall, at least thirty (30) days prior to the conveyance of any interest
in the PacifiCorp Property, give written notice to the transferee that the property is subject to this
Order and written notice to EPA and the State of the proposed conveyance, including the name
and address of the transferee. Respondent also agrees to require that its successors comply with
the immediately proceeding sentence and Sections IX (Site Access) and X (Access to

Information).

20. Final Report. Within forty-five (45) days after completion of all Work required by
this Order, Respondent shall submit for EPA review and approval a final report summarizing the
actions taken to comply with this Order. The final report shall conform, at a minimum, with the
requirements set forth in Section 300.165 of the NCP entitled “OSC Reports.” The final report
shall include a good faith estimate of total costs or a statement of actual costs incurred in
complying with the Order, a listing of quantities and types of materials removed off-Site or
handled on-Site, a discussion of removal and disposal options considered for those materials, a

listing of the ultimate destination(s) of those materials, a presentation of the analytical results of

N
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 12 of 30

11

all sampling and analyses performed, and accompanying appendices containing all relevant
documentation generated during the removal action (e.g., manifests, invoices, bills, contracts, and
permits). The final report shall also include the following certification signed by a person who
supervised or directed the preparation of that report:

“Under penalty of law, I certify that to the best of my knowledge, after appropriate
inquiries of all relevant persons involved in the preparation of the report, the information —
submitted is true, accurate, and complete. lam aware that there are significant penalties for
submitting false information, including the possibility of fine and imprisonment for knowing
violations.”

21. Off-Site Shipments.

a. Respondent shall, prior to any off-Site shipment of Waste Material from the Site
to an out-of-state waste management facility, provide written notification of such shipment of
Waste Material to the appropriate state environmental official in the receiving facility’s state and
to the On-Scené Coordinator. However, this notification requirement shall not apply to any off-
Site shipments when the total volume of all such shipments will not exceed 10 cubic yards.

j. Respondent shall include in the written notification the following
information: 1) the name and location of the facility to which the Waste-Material is to be shipped;
2) the type and quantity of the Waste Material to be shipped; 3) the expected schedule for the
shipment of the Waste Material; and 4) the method of transportation. Respondent shall notify the

state in which the planned receiving facility is located of major changes in the shipment plan, such
as a decision to ship the Waste Material to another facility within the same state, or toa facility in

another state.

ii. The identity of the receiving facility and state will be determined by
Respondent following the award of the contract for the removal action. Respondent shall provide
the information required by Paragraph 21(a) and 21(b) as soon as practicable after the award of
the contract and before the Waste Material is actually shipped.

b. Before shipping any hazardous substances, pollutants, or contaminants from the
Site to an off-site location, Respondent shall obtain EPA’s certification that the proposed
receiving facility is operating in compliance with the requirements of CERCLA Section 121(d)(3),
42 U.S.C. § 9621(d)(3), and 40 C.F.R. § 300.440. Respondent shall only send hazardous
substances or pollutants or contaminants from the Site to an off-site facility that complies with the
requirements of the statutory provision and regulation cited in the preceding sentence.

IX. SITE ACCESS

22. Respondent shall, commencing on the Effective Date, provide EPA ,the State, and
their representatives, including contractors, with access at all reasonable times to the PacifiCorp
Property for the purpose of conducting any activity related to this Order.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 13 of 30

12

23. EPA recognizes that the PacifiCorp Property includes an active, operating electrical
substation that is an integral part of PacifiCorp’s operations. EPA further recognizes that a
‘number of critical health and safety policies, rules, regulations and restrictions are relevant to the
PacifiCorp Property because of the dangerous nature of the electrical substation operations and for
reasons entirely unrelated to any environmental conditions that may be present.

_ 24, In the event that EPA, the State, and any of their representatives, including
contractors, seek to have access to PacifiCorp Property, they shall provide PacifiCorp with
reasonable advance notice. In all such cazes, EPA, the State, and any of their representatives,

including contractors, will:
a. complete PacifiCorp’s Substation Awareness Training,

b. wear proper personal protective equipment (PPE) as described in the Work Plan,
and ,

c. request the presence of one or more PacifiCorp substation journeyman, who
shall be fully 40-hour trained and available every day and on call for emergencies.
Respondent shall ensure that a substation journeyman will be present when such a
request has been made. If Respondent fails to provide a substation journeyman in
violation of this Order, the stipulated penalties set forth in Paragraph 52 shall
apply. Accompaniment of a substation journeyman is not required for entry into
areas of the PacifiCorp Property where electrical equipment is not located, when
such areas are demarcated by physical barriers (fences and walls).

25, EPA agrees to comply with those relevant and appropriate portions of health and
safety plans, and policies, rules, regulations and restrictions that are more fully described in the

Work Plan.

26. Where any action under this Order is to be performed in areas owned by or in
possession of someone other than Respondent, Respondent shall use its best efforts to obtain all
necessary access agreements within ten (10) days after the Effective Date, or as otherwise
specified in writing by the OSC. Respondent shall immediately notify EPA if after using its best
efforts it is unable to obtain such agreements. For purposes of this Paragraph, “best efforts”
includes the payment of reasonable sums of money in consideration of access. Respondent shall
describe in writing its efforts to obtain access. EPA may then assist Respondent in gaining access,
to the extent necessary to effectuate the response actions described herein, using such means as
EPA deems appropriate. Respondent shall reimburse EPA for all costs and attorney’s fees
incurred by the United States in obtaining such access, in accordance with the procedures in

Section XV (Payment of Response Costs).

27, If Respondent is required to implement institutional controls on Property that is
owned by Respondent, Respondent shall execute and record in the Recorder's Office of Salt Lake
County, State of Utah , an easement, running with the land, that (i) grants a right of access for the
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 14 of 30

13

purpose of conducting any activity related to this Order, subject to the requirements of Paragraphs
24 and 25 above, and (ii) grants the right to enforce the land use restrictions more fully developed
as attachments to the Work Plan attached as Appendix B to this Order, or other restrictions that
EPA determines are necessary to implement, ensure non-interference with, or ensure the
protectiveness of the response measures to be performed pursuant to this Order. Respondent shall
grant the access rights and the rights to enforce the land use restrictions to the State and its
representatives and other appropriate grantees, as determined by EPA. Respondent shall, within
forty-five (45) days of the time that EPA determines that Respondent will be required to
implement such institutional controls, submit to EPA for review and approval with respect to such

property: .
a. A draft easement that is enforceable under the laws of the State of Utah , and
b. A current title insurance commitment or some other evidence of title acceptable to

EPA, which shows title to the land described in the easement to be free and clear of
all prior liens and encumbrances (except when those liens or encumbrances are
approved by EPA or when, despite best efforts, Respondent is unable to obtain
release or subordination of such prior liens or encumbrances).

28. Within fifteen (15) days of EPA's approval and acceptance of the easement and the
title evidence, Respondent shall update the title search and, if it is determined that nothing has
occurred since the effective date of the commitment to affect the title adversely, record the
easement with the Recorder's Office of Salt Lake County. Within thirty (30) days of recording the
easement, Respondent shall provide EPA with a final title insurance policy, or other final
evidence of title acceptable to EPA, and a certified copy of the original recorded easement
showing the clerk's recording stamps. If the easement is to be conveyed to the United States, the
easement and title evidence (including final title evidence) shall be prepared in accordance with
the U.S. Department of Justice Title Standards 2001, and approval of the sufficiency of title must

be obtained as required by 40 U.S.C. § 3111.

29, Notwithstanding any provision of this Order, EPA and the State retain all of their
access authorities and rights, as well as all of their rights to require land use restrictions, including
enforcement authorities related thereto, under CERCLA, RCRA, and any other applicable statutes

or regulations.

X. ACCESS TO INFORMATION

30. Respondent shall provide to EPA and the State, upon request, copies of all documents
and information within its possession or control or that of its contractors or agents relating to
activities at the Site or to the implementation of this Order, including, but not limited to,
sampling, analysis, chain of custody records, manifests, trucking logs, receipts, reports, sample
traffic routing, correspondence, or other documents or information related to the Work.
Respondent shall also make available to EPA and the State, for purposes of investigation,
information gathering, or testimony, its employees, agents, or representatives with knowledge of
relevant facts concerning the performance of the Work.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 15 of 30

14

31. Respondent may assert business confidentiality claims covering part or all of the
documents or information submitted to EPA and the State under this Order to the extent permitted
by and in accordance with Section 104(e)(7) of CERCLA, 42 U.S.C. § 9604(e)(7), and 40-C.F.R.
§ 2,203(b). Documents or :nformation determined to be confidential by EPA will be afforded the
protection specified in 40 C.F.R. Part 2, Subpart B. If no claim of confidentiality accompanies
documents or information when they are submitted to EPA and the State, or if EPA has notified
Respondent that the documents or information are not confidential under the standards of Section
104(e)(7) of CERCLA or 40 CER. Part 2, Subpart B, the public may be given access to such
documents or information w ithout further notice to Respondent.

32. Respondent may assert that certain documents, records and other information are
privileged under the attorney-client privilege or any other privilege recognized by federal law. If
the Respondent asserts such a privilege in lieu of providing documents, it shall provide EPA and
the State with the following: 1) the title of the document, record, or information; 2) the date of the
document, record, or information; 3) the name and title of the author of the document, record, or
information; 4) the name and title of each addressee and recipient; 5) a description of the contents
of the document, record, or information; and 6) the privilege asserted by Respondent. However,
no documents, reports or other information created or generated pursuant to the requirements of
this Order shall be withheld on the grounds that they are privileged.

33. No claim of confidentiality shall be made with respect to any data, including, but not
limited to, all sampling, analytical, monitoring, hydrogeologic, scientific, chemical, or engineering
data, or any other documents or ‘nformation evidencing conditions at or around the Site.

XI, RECORD RETENTION

34, Until seven (7) years after Respondent’s receipt of EPA’s notification pursuant to
Section XXIX (Notice of Completion of Work), Respondent shall preserve and retain all non-
identical copies of records and documents (including records or documents in electronic form)
now in its possession or control or which come into its possession or contro] that relate in any
manner to the performance of the Work or the liability of any person under CERCLA with respect
to the Site, regardless of any corporate retention policy to the contrary. Until seven (7) years after
Respondent's receipt of EPA’s notification pursuant to Section XXIX (Notice of Completion of
Work), Respondent shall also instruct its contractors and agents to preserve all documents,
records, and information of whatever kind, nature or description relating to performance of the

Work.

35. At the conclusion of this document retention period, Respondent shall notify EPA and
the State at least 90 days prior to the destruction of any such records or documents, and, upon
request by EPA or the State, Respondent shall deliver any such records or documents to EPA or
the State. Respondent may assert that certain documents, records and other information are
privileged under the attorney-client privilege or any other privilege recognized by federal law. If
Respondent asserts such a privilege, it shall provide EPA or the State with the following: 1) the
title of the document, record, or information; 2) the date of the document, record, or information;
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 16 of 30

15

3) the name and title of the author of the document, record, or information; 4) the name and title
of each addressee and recipient; 5) a description of the subject of the document, record, or
information; and 6) the privilege asserted by Respondent. However, no documents, reports or
other information created or generated pursuant to the requirements of this Order shall be
withheld on the grounds that they are privileged. :

36. Respondent hereby certifies individually that to the best of its knowledge and belief,
after thorough inquiry, it has not altered, mutilated, discarded, destroyed or otherwise disposed of
any records, documents or other information (other than identical copies) relating to its potential
liability regarding the Site since notification of potential liability by EPA or the State or the filing
of suit against it regarding the Site and that it has fully complied with any and all EPA requests for
information pursuant to Sections 104(e) and 122(e) of CERCLA, 42 U.S.C. §§ 9604(e) and
9622(e), and Section 3007 of RCRA, 42 U.S.C. § 6927.

XII. COMPLIANCE WITH OTHER LAWS

37. Respondent shall perform all actions required pursuant to this Order in accordance
with all applicable local, state, and federal laws and regulations except as provided in Section
121(e) of CERCLA, 42 USS.C. § 6921(e), and 40 C.F.R. §§ 300.400(e) and 300.415@). In.
accordance with 40 C.F.R. § 300.415()), all on-Site actions required pursuant to this Order shall,
to the extent practicable, as determined by EPA, considering the exigencies of the situation, attain
applicable or relevant and appropriate requirements (“ARARs”) under federal environmental or
state environmental or facility siting laws.

XII. EMERGENCY RESPONSE AND NOTIFICATION OF RELEASES

38. In the event of any action or occurrence during performance of the Work which causes
or threatens a release of Waste Material from the PacifiCorp Property or other property used by
Respondent under this Order that constitutes an emergency situation or may present an immediate
threat to public health or welfare or the environment, Respondent shall immediately take all
appropriate action. Respondent shall take these actions in accordance with all applicable
provisions of this Order, including, but not limited to, the Health and Safety Plan, in order to
prevent, abate or minimize such release or endangerment caused or threatened by the release.
Respondent shall also immediately notify the OSC or, in the event of his/her unavailability, the
Regional Duty Officer at (800) 424-8802 or (303) 793-1788 of the incident or Site conditions. In
the event that Respondent fails to take appropriate response action as required by this Paragraph,
and EPA takes such action instead, Respondent shall reimburse EPA all costs of the response

action not inconsistent with the NCP pursuant to Section XV (Payment of Response Costs).

39, In addition, in the event of any release of a hazardous substance from the PacifiCorp
Property or other property used by Respondent under this Order, Respondent shall immediately
notify the OSC at (303) 293-1788 and the National Response Center at (800) 424-8802.
Respondent shall submit a written report to EPA within five (5) days after each release, setting .

forth the events that occurred and the measures taken or to be taken to mitigate any release or
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 17 of 30

16

endangerment caused or threatened by the release and to prevent the reoccurrence of such a
release. This reporting requirement is in addition to, and not in lieu of, reporting under Section
103(c) of CERCLA, 42 U.S.C. § 9603(c), and Section 304 of the Emergency Planning and
Community Right-To-Know Act of 1986, 42 U.S.C. § 11004, et seq.

XIV. AUTHORITY OF ON-SCENE COORDINATOR

40. The OSC shall be responsible for overseeing Respondent’s implementation of this
Order. The GSC shall have the authority vested in an OSC by the NCP, including the authority to
halt, conduct, or direct any Work required by this Order, or to direct any other removal action
undertaken at the Site. Absence of the OSC from the Site shall not be cause for stoppage of work
unless specifically directed by the OSC.

XV. PAYMENT OF RESPONSE COSTS

41. Payments for Future Response Costs.

a. Respondent shall pay EPA all Future Response Costs not inconsistent with the
NCP. Ona periodic basis, EPA will send Respondent a bill requiring payment that includes a
Regionally prepared cost summary (currently known as a SCOPRIOS Summary) which includes
direct and indirect costs incurred by EPA and its contractors. Respondent shall make all payments
within 30 days of receipt of each bill requiring payment, except as otherwise provided in
Paragraph 43 of this Order.

b. Payment shall be made to EPA by Electronic Funds Transfer (“EFT”) in
accordance with current EFT below and shall be accompanied by a statement identifying the name
and address of the party(ies) making payment, the Site name (Vermiculite Insulation), EPA
Region 8 and Site/Spill ID Number 08-GA, and the EPA docket number for this action.
Respondent shall make such payments by wire transfer to the Federal Reserve Bank in New York

City with the following information:

ABA = 021030004
TREAS/NYC/CTR/
BNF=/AC-6801 1008

c. At the time of payment, Respondent shall send notice that payment has been
made to

Director, Financial Management Program, TMS-F
U.S. EPA, Region 8

999 18" Street, Suite 300

Denver, CO 80202

and —
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 18 of 30

17

Cost Recovery Program Manager, ENF-RC
Superfund Enforcement Program

U.S. EPA, Region 8

999 18" Street, Suite 300

Denver, CO 80202

d. The total amount to be paid by Respondent pursuant to Paragraph 41(a) shall be
deposited in the Vermiculite Insulation Special Account within the EPA Hazardous Substance
Superfund to be retained and used to conduct or finance response estions at or in connection with .
the Site, or to be transferred by EPA to the EPA Hazardous Substa:ce Superfund.

42. In the event that the payment for Future Response Costs are not made within 30 days
of Respondent’s receipt of a bill, Respondent shall pay Interest on the unpaid balance. The
Interest on Past Response Costs shall begin to accrue on the Effective Date and shall continue to
accrue until the date of payment. The Interest on Future Response Costs shall begin to accrue on
the date of the bill and shall continue to accrue until the date of payment. Payments of Interest
made under this Paragraph shall be in addition to such other remedies or sarictions available to the
United States by virtue of Respondent’s failure to make timely payments under this Section,
including but not limited to, payment of stipulated penalties pursuant to Section XVII.

43. Respondent may dispute all or part of a bill for Future Response Costs submitted
under this Order, if Respondent alleges that EPA has made an accounting error, or if Respondent
alleges that a cost item is inconsistent with the NCP. If any dispute over costs is resolved before
payment is due, the amount due will be adjusted as necessary. If the dispute is not resolved before
payment is due, Respondent shall pay the full amount of the uncontested costs to EPA as specified
in Paragraph 41 on or before the due date. Within the same time period, Respondent shall pay the:
full amount of the contested costs into an interest-bearing escrow account, Respondent shall
simultaneously transmit a copy of both checks to the persons listed in Paragraph 41(c) above.
Respondent shall ensure that the prevailing party or parties in the dispute shall receive the amount
upon which they prevailed from the escrow funds plus interest within fifteen (15) days after the
~ dispute is resolved. Notification of disputes regarding all or part of a bill for Future Response
Costs shall be sent to:

Cost Recovery Program Manager
EPA Region 8, ENF-RC

999 18" Street, Suite 300
Denver, CO 80202

44, Respondent shall notify EPA’s Cost Recovery Program Manager in writing of its

- objections within fifteen (15) days of receipt of the bill that it is disputing. The Respondent’s
written objections shall define the dispute, state the basis of Respondent’s objections, and be sent
certified U.S. mail, return receipt requested or by other mail delivery service with a delivery
tracking and verification system. Thereafter, the provisions of Section XVI (Dispute Resolution)
shall apply to the dispute.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 19 of 30

18

XVI. DISPUTE RESOLUTION

45. Unless otherwise expressly provided for in this Order, the dispute resolution
procedures of this Section shall be the exclusive mechanism for resolving disputes arising under
this Order. The Parties shall attempt to resolve any disagreements concerning this Order

expeditiously and informally.

46. If Respondent objects to any EPA action taken pursuant to this Order, including
billings for Future Response Costs, it shall notify EPA in writing of its objection(s) within ten
(10) days of such action, unless the objection(s) has/have been resolved informally. EPA and
Respondent shall have fifteen (15) days from EPA’s receipt of Respondent’s written objection(s)
to resolve the dispute through formal negotiations (the “Negotiation Period”). The Negotiation

Period may be extended at the sole discretion of EPA.

47, Any agreement reached by the parties pursuant to this Section shall be in writing and
shall, upon signature by both parties, be incorporated into and become an enforceable part of this
Order. If the Parties are unable to reach an agreement within the Negotiation Period, an EPA
management official at the office director level or higher will issue a written decision on the
‘dispute to Respondent. EPA’s decision shall be incorporated into and become an enforceable part .
of this Order. Respondent’s obligations under this Order shall not be tolled by submission of any
objection for dispute resolution under this Section. Following resolution of the dispute, as
provided by this Section, Respondent shall fulfill the requirement that was the subject of the
dispute in accordance with the agreement reached or with EPA’s decision, whichever occurs.

XVII. FORCE MAJEURE
48. Respondent agrees to perform all requirements of this Order within the time limits
established under this Order, unless the performance is delayed by a force majeure. For purposes
of this Order, a force majeure is defined as any event arising from. causes beyond the control of ,
Respondent, or of any entity controlled by Respondent, including but not limited to its contractors
arid subcontractors, which delays or prevents performance of any obligation under this Order
despite Respondent's best efforts to fulfill the obligation. Force majeure does not include

financial inability to complete the Work or increased cost of performance.

49, If any event occurs or has occurred that may delay the performance of any obligation
under this Order, whether or not caused by a force majeure event, Respondent shall notify EPA
orally within 24 hours of when Respondent first knew that the event might cause a delay. Within
three (3) days thereafter, Respondent shall provide to EPA in writing an explanation and
description of the reasons for the delay; the anticipated duration of the delay; all actions taken or
to be taken to prevent or minimize the delay; a schedule for implementation of any measures to be
taken to prevent or mitigate the delay or the effect of the delay; Respondent’s rationale for
attributing such delay to a force majeure event if it intends to assert such a claim; and a statement
as to whether, in the opinion of Respondent, such event may cause or contribute to an
endangerment to public health, welfare or the environment. Failure to comply with the above
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 20 of 30

19

requirements shall preclude Respondent from asserting any claim of force majeure for that event

for the period of time of such failure to comply and for any additional delay caused by such
failure. :

50. If EPA agrees that the delay or anticipated delay is attributable to a force majeure
event, the time for performance of the obligations under this Order that are affected by the force
majeure event will be extended by EPA for such time as is necessary to complete those

- obligations. An extension of the time for performance of the obligations, affected by the force
majeure event shall not, of itself, extend the time fer performance of any other obligation. If EPA
does not agree that the delay or anticipated delay has been or will be caused by a force majeure
event, EPA will notify Respondent in writing of its decision. If EPA agrees that the delay is
attributable to a force majeure event, EPA will notidy Respondent in writing of the length of the
extension, if any, for performance of the obligations affected by the force majeure event.

XVIII. STIPULATED PENALTIES

51. Respondent shall be liable to EPA for stipulated penalties in the amounts set forth in
Paragraphs 52 and 53 for failure to comply with the requirements of this Order specified below,
unless excused under Section XVII (Force Majeure). “Compliance” by Respondent shall include
completion of the activities under this Order or the Work Plan or other plan approved under this
Order identified below in accordance with all applicable requirements of law, this Order, the
Work Plan or other documents approved by EPA pursuant to this Order and within the specified
time schedules established by and approved under this Order.

52. Stipulated Penalty Amounts - Work. The following stipulated penalties shall accrue
per violation per day for any noncompliance with terms of this Order, the Statement of Work and
any EPA-approved work plans, but specifically excluding delinquency in the provision of progress
reports:

Penalty Per Violation Per Day Period of Noncompliance
$2,500 1st through 14th day
$5,000 15th through 30th day
$32,500 31st day and beyond

53. Stipulated Penalty Amounts - Progress Reports. The following stipulated penalties
shall accrue per violation per day for failure to submit timely or adequate progress reports
pursuant to this Order:

Penalty Per Violation Per Day Period of Noncompliance
$100 1st through 14th day
$250 15th through 30th day

$500 . 31st day and beyond
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 21 of 30

20

54, In the event that EPA assumes performance of a portion or all of the Work pursuant to
Paragraph 64 of Section XX, Respondent shall be liable for a stipulated penalty in the amount of

$400,000.

55. All penalties shall begin to accrue on the day after the complete performance is due or
the day a violation occurs, and shall continue to accrue through the final day of the correction of
the noncompliance or completion of the activity. However, stipulated penalties shall not accrue:
1) with respect to a deficient submission under Section VII (Work to be Performed), during the
period, if any, beginning on the 31st day after EPA’s receipt of such submission until the date that
EPA notifies Respondent of any deficiency; and 2) with respect to a decision by the EPA
Management Official at the office director level or higher, under Paragraph 42 of Section XVI
(Dispute Resolution), during the period, if any, beginning on the 21st day after the Negotiation
Period begins until the date that the EPA management official issues a final decision regarding
such dispute. Nothing herein shall prevent the simultaneous accrual of separate penalties for
separate violations of this Order.

56. Following EPA’s determination that Respondent has failed to comply with a
requirement of this Order, EPA may give Respondent written notification of the failure and
describe the noncompliance. EPA may send Respondent a written demand for payment of the
penalties. However, penalties shall accrue as provided in the preceding Paragraph regardless of
whether EPA has notified Respondent of a violation.

57, All penalties accruing under this Section shall be due and payable to EPA within thirty
(30) days of Respondent’s receipt from EPA of a demand for payment of the penalties, unless
Respondent invokes the dispute resolution procedures under Section XVI (Dispute Resolution).
All payments to EPA under this Section shall be paid by wire transfer sent directly to the Federal
Reserve Bank in New York City with the following information:

ABA = 021030004
TREAS/NYC/CTR/
BNF=/AC-68011008

and shall indicate that the payment is for stipulated penalties, and shall reference the EPA Region
and Site/Spill ID Number 08-GA, the EPA Docket Number , and the name and
address of Respondent. Copies of wire transfer paid pursuant to this Section, and any
accompanying transmittal letter(s), shall be sent to EPA as provided in Paragraph 13, and to
Kelcey Land, Cost Recovery Manager, ENF-RC, 999 18 Street, Suite 300, Denver, CO.

58, The payment of penalties shall not alter in any way Respondent’s obligation to
complete performance of the Work required under this Order.

59, Penalties shall continue to accrue during any dispute resolution period, but need not
be paid until fifteen (15) days after the dispute is resolved by agreement or by receipt of EPA’s

decision.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 22 of 30

21

60. If Respondent fails to pay stipulated penalties when due, EPA may institute
proceedings to collect the penalties, as well as Interest. Respondent shal! pay Interest on the
unpaid balance, which shall begin to accrue on the date of demand made pursuant to Paragraph
52. Nothing in this Order shall be construed as prohibiting, altering, or in any way limiting the
ability of EPA to seek any other remedies or sanctions available by virtue of Respondent's

violation of this Order or of the statutes and regulations upon which it is based, including, but not
limited to, penalties pursuant to Sections 106(b) and 122() of CERCLA, 42 U.S.C. §§ 9606(b)
and 9622(), and punitive damages pursuant to Section 107(c)(3) of CERCLA, 42 U.S.C. §
9607(c)(3). Provided, however, that SPA shall not seek civil penalties pursuant to Section 106(b)
or 122(1) of CERCLA or punitive dan.ages pursuant to Section 107(c)(3) of CERCLA for any
violation for which a stipulated penalty is provided herein, except in the case of a willful violation
of this Order or in the event that EPA assumes performance of a portion or all of the Work
pursuant to Section XX, Paragraph 64. Notwithstanding any other provision of this Section, EPA
may, in its unreviewable discretion, waive any portion of stipulated penalties that have accrued
pursuant to this Order.

XIX. COVENANT NOT TQ SUE BY EPA

61. In consideration of the actions that will be performed and the payments that will be
made by Respondent under the terms of this Order, and except as otherwise specifically provided
in this Order, EPA covenants not to sue or to take administrative action against Respondent
pursuant to Sections 106 and 107(a) of CERCLA, 42 U.S.C. §§ 9606 and 9607(a), for
performance of the Work and for recovery of Future Response Costs. This covenant not to sue
shall take effect upon completion of the Work pursuant to Section XXIX (Notice of Completion
of Work). This covenant not to sue is conditioned upon the complete and satisfactory
performance by Respondent of its obligations under this Order, including, but not limited to,
payment of Future Response Costs pursuant to Section XV. This covenant not to sue extends
only to Respondent and does not extend to any other person.

XX. RESERVATIONS OF RIGHTS BY EPA

62. Except as specifically provided in this Order, nothing herein shall limit the power and
authority of EPA or the United States to take, direct, or order all actions necessary to protect
public health or welfare or the environment or to prevent, abate, or minimize an actual or
threatened release of hazardous substances or pollutants or contaminants, or hazardous or solid
waste on, at, or from the Site. Further, nothing herein shall prevent EPA from. seeking legal or
equitable relief to enforce the terms of this Order, from taking other legal or equitable action as it
deems appropriate and necessary, or from requiring Respondent in the future to perform
additional activities pursuant to CERCLA or any other applicable law.

63. The covenant not to sue set forth in Section XIX above does not pertain to any matters
other than those expressly identified therein. EPA reserves, and this Order is without prejudice to,
all rights against Respondent with respect to all other matters, including, but not limited to:
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 23 of 30

22

a. claims based on a failure by Respondent to meet a requirement of this Order;

b. liability for any and all costs not included within the definition of Future
Response Costs;

c, liability for performance of response action other than the Work;
d. criminal liability,

e. liability for damages for injury to, destruction of, or loss of natural resources,
and for the costs of any natural resource damage assessments;

f. liability arising from the past, present, or future disposal, release or threat of
release of Waste Materials outside of the PacifiCorp Property, and

g. liability for costs incurred or to be incurred by the Agency for Toxic Substances
and Disease Registry related to the Site.

64. Work Takeover. In the event EPA determines that Respondents has ceased
implementation of any portion of the Work, is seriously or repeatedly deficient or late in its
performance of the Work, or are implementing the Work in a manner which may cause an_
endangerment to human health or the environment, EPA may assume the performance of all or
any portion of the Work as EPA determines necessary. Respondent may invoke the procedures
set forth in Section XVI (Dispute Resolution) to dispute EPA’s determination that takeover of the
Work is warranted under this Paragraph. Costs incurred by the United States in performing the
Work pursuant to this Paragraph shall be considered Future Response Costs that Respondent shall
pay pursuant to Section XV (Payment of Response Costs). Notwithstanding any other provision
of this Order, EPA retains all authority and reserves all rights to take any and all response actions

authorized by law.

XXI. COVENANT NOT TO SUE BY RESPONDENT

65. Respondent covenants not to sue and agrees not to assert any claims or causes of
action against the United States, or its contractors or employees, with respect to the Work, Future _
Response Costs, or this Order, including, but not limited to:

a, any direct or indirect claim for reimbursement from the Hazardous Substance
Superfund established by 26 U.S.C. § 9507, based on Sections 106(b)(2), 107, 111, 112, or 113 of
CERCLA, 42 U.S.C. §§ 9606(b)(2), 9607, 9611, 9612, or 9613, or any other provision of law;

b. any claim arising out of response actions at or in connection with the PacifiCorp
Property or other property used by Respondent under this Order, including any.claim under the
United States Constitution, the Utah Constitution, the Tucker Act, 28 U.S.C. § 1491, the Equal
Access to Justice Act, 28 U.S.C. § 2412, as amended, or at common law; or
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 24 of 30

23

c. any claim against the United States pursuant to Sections 107 and 113 of
CERCLA, 42 U.S.C. §§ 9607 and 9613, relating to the PacifiCorp Property or other property used
by Respondent under this Order.

66. Except as provided in Paragraph 68 (Waiver of Claims), these covenants not to sue
shall not apply in the event the United States brings a cause of action or issues an order pursuant
to the reservations set forth in Paragraphs 63 (b), (c), and (e) - (g), but only to the extent that
Respondent’s claims : zise from the same response action, response costs, or damages that the
United States is seekin 3 pursuant to the applicable reservation.

67. Nothing in this Agreement shall be deemed to constitute approval or preauthorization
ofa claim within the meaning of Section 111 of CERCLA, 42 U.S.C. § 9611, or 40 C.F.R. § -

300.700(4).

. 68. Respondent agrees not to assert any claims and to waive all claims or causes of action
that it may have for all matters relating to the PacifiCorp Property or other property used by
Respondent under this Order, including for contribution, against-any person that has entered into a

- final de minimis settlement under Section 122(g) of CERCLA, 42 U.S.C. § 9622(g), with EPA
with respect to the PacifiCorp Property or other property used by Respondent under this Order as
of the Effective Date. This waiver shall not apply with respect to any defense, claim, or cause: of
action that a Respondent may have against any person if such person asserts a claim or cause of
action relating to the PacifiCorp Property or other property used by Respondent under this Order
against such Respondent.

XXII. OTHER CLAIMS

69, By issuance of this Order, the United States and EPA.assume no liability for injuries
or damages to persons or property resulting from any acts or omissions of Respondent. The United
States or EPA shall not be deemed a party to any contract entered into by Respondent or its
directors, officers, employees, agents, SUCCeSSOTS, representatives, assigns, contractors, or
consultants in carrying out actions pursuant to this Order.

70, Except as expressly provided in Section XXI, Paragraph 68 (De Minimis Waiver) and
Section XIX (Covenant Not to Sue by EPA), nothing in this Order constitutes a satisfaction of or
release from any claim or cause of action against Respondent or any person not a party to this
Order, for any liability such person may have under CERCLA, other statutes, or common law,
including but not limited to any claims of the United States for costs, damages and interest under
Sections 106 and 107 of CERCLA, 42 U.S.C. §§ 9606 and 9607. ,

71, No action or decision by EPA pursuant to this Order shall give rise to any right to
judicial review, except as set forth in Section 113(h) of CERCLA, 42 U.S.C. § 9613(h).
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 25 of 30

24
XXIII. CONTRIBUTION PROTECTION

72. The Parties agree that Respondent is entitled, as of the Effective Date, to protection
from contribution actions or claims as provided by Sections 113(f(2) and 122(h)(4) of CERCLA,
42 U.S.C. §§ 9613(f)(2) and 9622(h)(4), for “matters addressed” in this Order. The “matters
addressed” in this Order are the Work and Future Response Costs. Except as provided in Section
XXI, Paragraph 68, of this Order (De Minimis Waiver), nothing in this Order precludes the
United States or Respondent from asserting any claims, causes of action, or demands against any
persons not parties to this Order for indemnification, contribution, or cost recovery.

XXIV. INDEMNIFICATION

73, Respondent shall indemnify, save and hold harmless the United States, its officials,
agents, contractors, subcontractors, employees and representatives from any and all claims or
causes of action arising from, or on account of, negligent or other wrongful acts or omissions of
-Respondent, its officers, directors, employees, agents, contractors, or subcontractors, in carrying
out actions pursuant to this Order. In addition, Respondent agrees to pay the United States all
costs incurred by the United States, including but not limited to attorneys fees and other expenses
of litigation and settlement, arising from or on account of claims made against the United States
based on negligent or other wrongful acts or omissions of Respondent, its officers, directors,
employees, agents, contractors, subcontractors and any persons acting on its behalf or under its
control, in carrying out activities pursuant to this Order. The United States shall not be held out as
a party to any contract entered into by or on behalf of Respondent in carrying out activities
pursuant to this Order. Neither Respondent nor any such contractor shall be considered an agent

of the United States.

74, The United States shall give Respondent notice of any claim for which the United
States plans to seek indemnification pursuant to this Section and shall consult with Respondent

prior to settling such claim.

75, Respondent waives all claims against the United States for damages or reimbursement
or for set-off of any payments made or to be made to the United States, arising from or on account
~ of any contract, agreement, or arrangement between Respondent and any person for performance
of Work on or relating to the PacifiCorp Property or other property used by Respondent under this
Order, including, but not limited to, claims on account of construction delays. In addition,
Respondent shall indemnify and hold harmless the United States with respect to any and all
claims for damages or reimbursement arising from or on account of any contract, agreement, or
arrangement between Respondent and any person for performance of Work on or relating to the
PacifiCorp Property or other property used by Respondent under this Order, including, but not
limited to, claims on account of construction delays.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 26 of 30

25

XXV, INSURANCE

76. At least seven (7) days prior to commencing any on-Site work under this Order,
Respondent shall secure, and shall maintain for the duration of this Order, comprehensive general
liability insurance and automobile insurance with limits of one million dollars, combined single
limit. Within the same time period, Respondent shall provide EPA with certificates of such
insurance and a copy of each insurance policy. In addition, for the duration of the Order,
Respondent shall satisfy, or shall ensure that its contractors or subcontractors satisfy, all
applicab:: laws and regulations regarding the provision of worker’s compensation insurance for
all persons performing the Work on behalf of Respondent in furtherance of this Order. If
Respondent demonstrates by evidence satisfactory to EPA that any contractor or subcontractor
maintains insurance equivalent to that described above, or insurance covering some or all of the
same risks but in an equal or lesser amount, then Respondent need provide only that portion of the
insurance described above which is not maintained by such contractor or subcontractor.

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XXVI. FINANCIAL ASSURANCE.

77, Within 30 days of the Effective Date, Respondent shall establish and maintain
financial security in the amount of $600,000 in one or more of the following forms:

a. A surety bond guaranteeing performance of the Work;

b. One or more irrevocable letters of credit equaling the total estimated cost of the
Work;

c. A trust fund;

d. A guarantee to perform the Work by one or more parent corporations or
subsidiaries, or by one or more unrelated corporations that have a substantial business relationship

with Respondent; or

e. A demonstration that Respondent satisfies the requirements of 40 C.F.R. Part
264,143(f). . .

78. If Respondent seeks to demonstrate the ability to complete the Work through a
guarantee by a third party pursuant to Paragraph 77(a) of this Section, Respondent shall
demonstrate that the guarantor satisfies the requirements of 40 C.F.R. Part 264.143(f). If
Respondent seeks to demonstrate its ability to complete the Work by means of the financial test or
the corporate guarantee pursuant to Paragraph 77(d) or (e) of this Section, it shall resubmit sworn
statements conveying the information required by 40 C.F.R. Part 264.143(f) annually, on the
anniversary of the Effective Date. In the event that EPA determines at any time that the financial
assurances provided pursuant to this Section are inadequate, Respondent shall, within 30 days of
receipt of notice of EPA’s determination, obtain and present to EPA for approval one of the other

_ forms of financial assurance listed in Paragraph 77 of this Section. Respondent’s inability to
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 27 of 30

26

demonstrate financial ability to complete the Work shall not excuse performance of any activities
required under this Order.

79, If, after the Effective Date, Respondent can show that the estimated cost to complete
the remaining Work has diminished below the amount set forth in Paragraph 77 of this Section,
Respondent may, on any anniversary date of the Effective Date, or at any other time agreed to by
the Parties, reduce the amount of the financial security provided under this Section to the
estimated cost of the remaining Work to be performed. Respondent shall submit a proposal for
such reduction to EPA, in accordance with the requirements of this Section, and may reduce the
amount of the security upon approval by EPA. In the event of a dispute, Respondent may reduce
the amount of the security in accordance with the written decision resolving the dispute.

80. Respondent shall submit proof of financial assurance to Daniela Golden, Financial
Analyst, EPA-R8, 999 18" St., Suite 300, Denver, CO 80202. Respondent may change the form
of financial assurance provided under this Section at any time, upon notice to and approval by
EPA, provided that the new form of assurance meets the requirements of this Section. In the

event of a dispute, Respondent may change the form of the financial assurance only in accordance
with the written decision resolving the dispute.

XXVIII. MODIFICATIONS

81. Any requirements of this Order may be modified in writing by mutual agreement of
the parties. Modifications to the Work Plan, schedules or other EPA-approved plans that are
within the scope of the Action Memorandum may be made in writing or at the oral direction of the
OSC, provided that the change is memorialized in writing within ten (10) days. Modifications
requested by Respondent and orally approved by the OSC shall be memorialized in writing within
ten (10) days by Respondent. Any oral modification, while memorialized in writing, shall have
as its effective date the date of the OSC’s oral direction. Respondent may not proceed with a
requested deviation until receiving oral or written approval from the OSC or delegated decision-

official pursuant to this Paragraph.

82. No informal advice, guidance, suggestion, or comment by the OSC or other EPA
representatives regarding reports, plans, specifications, schedules, or any other writing submitted
by Respondent shall relieve Respondent of its obligation to obtain any formal approval required
by this Order, or to comply with all requirements of this Order, unless it is formally modified. -

XXVIIL ADDITIONAL REMOVAL ACTION |
83. If EPA determines that additional removal actions not included in an approved plan
are necessary to protect public health or welfare or the environment, EPA will notify Respondent
of that determination. Unless otherwise stated by EPA, within thirty (30) days of receipt of notice
from EPA that additional removal actions are necessary to protect public’health or welfare or the
environment, Respondent shall notify EPA of its intent to perform the additional removal actions.
If Respondent agrees to perform the additional removal actions, it shall simultaneously submit for
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 28 of 30

27

approval by EPA a Work Plan for the additional removal actions. The plan shall conform to the
applicable requirements of Section VI (Work to Be Performed) of this Order. Upon EPA’s
approval of the plan pursuant to Section VII, Respondent shall implement the plan for additional
removal actions in accordance with the provisions and schedule contained therein. This Section
does not alter or diminish the OSC’s authority to make oral modifications to any plan or schedule
pursuant to Section XXVII (Modifications).

XXIX. NOTICE OF COMPLETION OF WORK

34, When EPA determines, after EPA’s review of the Final Report, that all Work has been
fully performed in accordance with this Order, with the exception of any continuing obligations
required by this Order, EPA will provide written notice to Respondent. If EPA determines that
any such Work has not been completed in accordance with this Order, EPA will notify
Respondent, provide a list of the deficiencies, and require that Respondent modify the Work Plan
if appropriate in order to correct such deficiencies. Respondent shall implement the modified and

approved Work Plan and shall submit a modified Final Report in accordance with the EPA notice.
- Failure by Respondent to implement the approved modified Work Plan shall be a violation of this

Order.

XXX. SEVERABILITYANTEGRATION/APPENDICES

85, Ifa court issues an order that invalidates any provision of this Order or finds that
Respondent has sufficient cause not to comply with one or more provisions of this Order,
Respondent shall remain bound to comply with all provisions of this Order not invalidated or

determined to be subject to a sufficient cause defense by the court’s order.

86. This Order and its appendices constitute the final, complete and exclusive agreement
and understanding among the Parties with respect to the settlement embodied in this Order. The

parties acknowledge that there are no representations, agreements or understandings relating to the
settlement other than those expressly contained in this Order.
Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 29 of 30

28

XXXL. EFFECTIVE DATE

87. This Order shall be effective on the date the Order is signed by EPA.

The undersigned representative of Respondent certifies that he is fully authorized to enter into
the terms and conditions of this Order and to bind the party he represents to this document.

Agreed this A7_ day of July, 2004.

For Respondent PacifiCorp

William Eaquinto he
Vice President, T&D Opetations

Case 01-01139-AMC Doc 7571-3 Filed 01/14/05 Page 30 of 30

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Michael Risner, Director

Legal Enforcement Program |

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U.S. Environmental Protection Agency

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Sharon Kercher, Director yt
Technical Enforcement Program

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U.S. Environmental Protection Agency

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